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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN OF CALI FORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)

ANTITRUST LITIGATION, Master File No.

3:07-cev-05944 SC

THIS DOCUMENT RELATES TO:

ALL INDIRECT PURCHASER ACTIONS MDL No. 1917

VIDEOTAPED DEPOSITION OF JEFFREY FIGONE
Held at Winston & Strawn
101 California Street, 39th Floor

San Francisco, California

Friday, October 19, 2012

10:06 a.m. - 1:56 p.m.

REPORTED BY: JAMES BEASLEY, RPR, CA CSR No. 12807

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Samsung Exhibit B-3, Exhibit 505.
Is it still your best recollection that you

purchased that Sharp television in 1999 or 2000 at

Costco?
A. Yes.
Q. Does the Sharp television contain a CRT?
A. Yes.
QO. How do you know that?
A. I was informed by my attorneys.
Q. Independent of what your lawyers may have

told you, do you have any personal knowledge whether
that Sharp television contains a CRT?

A. I know that large televisions do carry that
CRT.

Q. Okay. Specific to the Sharp television
set, do you have any personal knowledge whether the
particular Sharp television set that you purchased
in 1999 or 2000 contains a CRT?

MR. GRALEWSKI: And I just want to remind
you that when you're answering the lawyer's
questions, you're instructed not to reveal any
communications that your -- you know, or any things
that your lawyers told you or you told your lawyers.

If you can answer questions setting aside

things that your lawyers and you talked about,

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including myself, then you can answer, but don't
tell her things that you talked to your lawyers
about.
Why don't you read the question back to
him.
(Record read as follows:
Question: "Specific to the Sharp
television set, do you have any
personal knowledge whether the
specific Sharp television set that you
purchased in 1999 or 2000 contains a
CRT?")
THE WITNESS: At that time, no.

BY MS. DONOVAN:

Q. At any time?

A. No.

Q. Do you still have che Sharp television set
today? .

A. No.

Q. Do you have any documents, like an owner's

manual or something else, that would verify that the
Sharp television set you purchased in 1999 or 2000
contains a CRT or not?

A. No.

Q. Assuming for a moment that the Sharp

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television set does contain a CRT --
A. Uh-huh.
QO. -- do you know who manufactured the CRT
inside the Sharp television?
A. No.
Q. Is it possible that the CRT. was
manufactured by Sharp?
MR. GRALEWSKI: Object to the form. Calls
for speculation.
MS. DONOVAN: You may answer.
THE WITNESS: I don't know.

BY MS. DONOVAN:

Q. Do you know where the CRT was manufactured?
A. No.

Q. Do you know where the CRT was first sold?
A, No.

Q. Is there any way for you to find out who

manufactured the CRT that. you think was inside the
Sharp television?

MR. GRALEWSKI: Object to the form. Vague
and ambiguous. Calls for a legal conclusion.

If you understand the question, you need to

answer. Do you want the question read back to you?
THE WITNESS: One more -- read back,
please.
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Q. Are there any labels, numbers, or dates on
that Panasonic television that we cannot see in
these photographs?

A. Not that I know of.

Q. Were there any labels, numbers, or dates on
the side panels of the Panasonic television you kept
in the kitchen that did not -- are not visible in

these photographs?

A. Not that I know of.

QO. What about the underside of the Panasonic
television?

A. Not that I know of.

Q. Does the Panasonic television that you kept

in the kitchen contain a CRT?

A. From what I was explained to my attorneys,
yes.

QO. Okay. Independent of what your lawyers may
have told you, do you have any personal knowledge
that the Panasonic television you kept in the

kitchen contained a CRT?

A. No.

Q. Did you ever open the television?

A. No.

Q. Assuming that the Panasonic television

contains a CRT, do you know who manufactured the

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CRT?

(Clarification by the reporter.)
BY MS. DONOVAN:
Q. Assuming that the Panasonic television that
you kept in the kitchen contains a CRT, do you know

who manufactured that CRT?

A. No.

Q. Do you know when that CRT was manufactured?
A. No.

Q. Do you know where that CRT was first sold?
A. No.

Q. Are there any labels anywhere on the

Panasonic television you kept in the kitchen with
any information about the CRT?

A. Not that I know of.

Q. What are.the dimensions of the Panasonic
television you kept in the kitchen?

A. I'm assuming, looking at the picture, it

seems to be maybe a 12-inch.

Q. That's based just on you looking at this
picture?

A. Correct.

Q. - Do you have any other knowledge or

information. about the dimensions of the Panasonic

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wholesaler or Internet company, to determine if you
could purchase a cheaper TV elsewhere?

A. I don't believe I did.

Q. And to confirm, you do not own this
Panasonic television today, correct?

A. That's correct.

QO. Sometime after the start of this litigation:
and now, the television disappeared, but you're not
sure what happened to it; is that correct?

A. That's correct.

Q. Okay. Now I would like to shift focus to
what you think is the second Panasonic TV set that
was in your son's room.

A. That's right...

QO. And your interrogatory responses indicate
that you also purchased this Panasonic television in
2002 or 2003; is that your best recollection?

. Yes.
What is that recollection based on?

My memory.

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Do you have any documents or anything else
that could verify that you purchased the second
Panasonic television in 2002 or 2003?

A. No, I don't.

Q. Is it possible you purchased that

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1 Q. Do you remember if you compared the price
2 of this Panasonic unit to a comparable Sharp unit?. :
3 A. I don't remember.
4 Q. Did you shop around to see whether you
01:14 «5 could purchase a cheaper TV/VCR unit at some
6 retailer other than Target?
7 A. I don't believe at the time I did.
8 Q. Did you shop around at wholesalers or
9 Internet companies or anywhere else? . i
ois 10 A. No.
11 Q. And am I correct that you no longer own |
12 this Panasonic television? J
13 A. That's correct. |
14 Q. But you Gid own it at the start of this
01:15 15 litigation?
16 A, Yes. |
17 Q. So somet ime between the start of this
18 litigation and now, this television disappeared, but 1
19 you don't know what happened to it? . :
01:15 20 A. That's correct.
21 Q. Other than what we've discussed, do you - |
22 know of any documents that could verify the date you
23 purchased the Panasonic television you kept in your
24 son's room, that it contains a CRT, the manufacturer
01:15 25 of the CRT, or the price you paid for that
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‘destroyed any documents that are potentially

BY MS. DONOVAN:

Q. Has a class been certified in this case?
A. Yes.
Q. Are you obligated to preserve any documents

or items in your possession that could potentially

be relevant to this case?

A. Yes.
Q. Have you done that?
A. I don't really have any documents or

anything right now at this point in time.
Q. Well, did you preserve the three

televisions that you're claiming damages for in this

case?
A. No, I did not.
Q. And why not?
A. T wish I could tell you. I really don't

know what I did with them.

Q. Other than the ‘three televisions, have you
failed to preserve any other documents that could
potentially be related to this case?

A. Maybe I'm not understanding. Are you
asking me if I do have other documents that I'm not
giving you? I don't have any other documents.

QO. Since the start of this case, have you

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